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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            CASE NO. 11-23671-CIV-SEITZ

 DISABILITY ADVOCATES COUNSELING GROUP, INC.,

       Plaintiff,
 VS.


 GROUP AFG, INC.,

      Defendant.
 _____________________________ /

                          ORDER RETAINING JURISDICTION

       THIS MATTER is before the Court upon the Joint Notice of Withdrawal of

 Pending Motions and Request to Retain Jurisdiction Through And Including July 1,

 2014 [DE-44, 45] (the "Joint Notice"). By filing the Joint Notice on February 7, 2014,

 the parties have complied with Judge Simonton's Order on Plaintiffs Motion for Court

 Enforcement of Stipulation of Settlement and Request for Evidentiary Hearing and

 Defendant's Motion for Extension of Time to Comply with Stipulation of Settlement

 [DE-43]. Accordingly, it is hereby

       ORDERED that:

       (1)    The Request to Retain Jurisdiction Through And Including July 1, 2014

 [DE-45] is GRANTED.

       (2)    The Court shall retain jurisdiction over the enforcement of the parties'

 settlement agreement until and including July 1, 2014.

       DONE AND ORDERED in Miami, Florida, this         ~~~y of February, 2014.

                                         PATRICIA A. SEITZ
                                         UNITED STATES DISTRICT JUDGE
 cc:   All counsel of record
